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17                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA
18
19                                              Case No. 3:17-cv-2327-BAS-JLB
     PATRICK MCMORROW, MARCO
20   OHLIN, and MELODY DIGREGORIO, on PLAINTIFFS’ MOTION FOR
     behalf of themselves, all others similarly CLASS CERTIFICATION
21
     situated, and the general public,
22                                              Judge:           Hon. Cynthia A. Bashant
            Plaintiffs,                         Hearing Date:    September 30, 2019
23                                              Location:        Courtroom 4B
24                       v.
                                                [REDACTED FOR PUBLIC FILING]
25
     MONDELEZ INTERNATIONAL, INC.,
26                                              NO ORAL ARGUMENT UNLESS
            Defendant.                          REQUESTED BY THE COURT
27
28

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 1                                        INTRODUCTION
 2         This case is readily amenable to certification of California and New York damages
 3   classes. First, Rule 23(a)’s criteria are satisfied. For numerosity, Plaintiffs show         of
 4   units sold for each Class. For commonality, Plaintiffs show Mondelez’s offending conduct
 5   was substantially the same for each Class. For typicality, Plaintiffs show that their claims are
 6   based on the same facts and legal theories as other Class Members’ claims, and that all were
 7   injured the same. For adequacy, Plaintiffs show they are bona fide purchasers with standing,
 8   without conflict, who will continue, together with counsel, to prosecute the case vigorously.
 9         Second, Rule 23(b)(3)’s predominance and superiority criteria are satisfied.
10   Mondelez’s liability to all depends on whether its conduct was objectively deceptive or
11   breached warranties, questions that can be resolved through common evidence, so that
12   common liability issues predominate. If Mondelez is liable, what it owes can be calculated
13   classwide, consistent with the Classes’ theories of liability. The Classes allege Mondelez’s
14   affirmative misrepresentations impacted consumers by inflating the Products’ price relative
15   to their true value, and all Class Members were injured by paying this premium. Plaintiffs
16   will measure the premium attributable to the challenged statements using a conjoint study, a
17   widely-accepted method for isolating price premiums associated with challenged labeling
18   claims. The New York Class additionally alleges Mondelez is liable for statutory damages
19   under General Business Law Sections 349 and 350. Plaintiffs’ conjoint model will help
20   establish causation and injury by showing an actual premium paid for the misrepresentations,
21   then calculating statutory damages is a simple matter of multiplying the number of units in
22   violation by the statutory amount. Finally, class treatment is superior because adjudicating
23   the Classes’ claims individually is economically infeasible.
24        FACTS & COMMON EVIDENCE SUPPORTING THE CLASSES’ CLAIMS
25   I.    MONDELEZ CAREFULLY STUDIED THE MARKET TO UNDERSTAND
26         BELVITA’S TARGET CONSUMER
27         Mondelez carefully crafted its belVita marketing campaign to tap into the
28   “                           consumer segment, where
                                                1
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 1             Ex.1 17, MDLZ21712, Ex. 18, MDLZ2486 (
 2                                                                                 . Mondelez found
 3   these
 4                                Ex. 19, MDLZ2572. See also Ex. 20, MDLZ103802 (segment
 5                                                                                                  ;
 6   Morreale 30(b)(6) Dep. Tr. 245:20-21
 7
 8            Mondelez’s                                                      Ex. 21, MDLZ 14471,
 9   and it “                                                                                Ex. 22,
10   MDLZ2841, because it agrees that “
11                      ” and knows “                                                      ,” Saenen
12   30(b)(6) Dep. Tr. 194:20-195:1. See also 193:23-194:5; Ex. 23, SPARKFOUNDRY23 (
13
14                            ”); Ex. 24, SPARKFOUNDRY153 (target is “
15
16            While marketing belVita, Mondelez carefully monitored the market, continuously
17   studying its consumers to ensure it maintained relevance. In January 2016, Mondelez’s
18   dedicated consumer insights group,
19                                to
20   ]          Ex. 26, MDLZ36614. Aiming to
21                   ,” Ex. 27, MDLZ36461, it surveyed                                      ,” id. at
22   MDLZ36463, to understand
23
24                               ,” id. at MDLZ36462. Mondelez found that although “
25
26
27
28   1
         All exhibit references, “Ex. __,” are to the Joseph Declaration, unless otherwise noted.
                                                       2
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 1                                                    ,” id. at MDLZ36465.
 2           In January 2018, Mondelez conducted another                ,” Ex. 28, MDLZ37096, for
 3                                        ,” id. at MDLZ37094. Mondelez “
 4
 5
 6                         ,” which “                                                         ,” id.
 7   at MDLZ37096, that “
 8            ” id. at 37098. Mondelez thus identified the “            sub-space, of which belVita
 9   is a                       It includes consumers that “
10                                                             ” id., and
11                                             ,” id. at MDLZ37099
12
13   II.     THE CHALLENGED CLAIMS CONVEYED A HEALTH MESSAGE
14           Knowing                                           ,” Ex. 19, MDLZ2572, to its target
15   consumers—and knowing it had to
16                                      ,” Ex. 29, MDLZ43530, it implemented its “nutritious
17   energy”2 marketing strategy to ensure belVita is “
18
19
     2
         Since 2012, when belVita was launched in the U.S., Mondelez has

20                                               .” Saenen 30(b)(6) Dep. Tr. 161:22-162:7. The
21   Crunchy Biscuits the claim progressed from “NUTRITIOUS SUSTAINED ENERGY ALL
     MORNING” (2013), to “NUTRITIOUS STEADY ENERGY ALL MORNING” (2014), to
22   “4 HOURS OF NUTRITIOUS STEADY ENERGY” (2015). Ex. 30, MDLZ39032. The Soft
23   Baked products also progressed from “NUTRITIOUS MORNING ENERGY” (2013) to “4
     HOURS OF NUTRITIOUS STEADY ENERGY” (2015). The Bites and Sandwiches, which
24   were introduced later, appear to have always bore the “4 HOURS OF NUTRITIOUS
25   STEADY ENERGY.” Regardless, Mondelez agrees these claims “
                                                                                       Saenen
26   30(b)(6) Dep. Tr. 162:19-24. See id. 162:25-9
27
                                             . Likewise, with the remaining challenged claims,
28   although belVita “                              ,” they                               ” to
                                                3
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 1                      Saenen 30(b)(6) Dep. Tr. 132:10-16. See also Ex. 40, MDLZ12592
 2
 3
 4         At the center of this strategy is the “4 HOURS OF NUTRITIOUS STEADY
 5   ENERGY” claim.
 6
 7                                          ,” Saenen 30(b)(6) Dep. Tr. 43:17 to 43:20. See id.
 8   93:6-15 (
 9                                         ). Mondelez prominently featured the “NUTRITIOUS
10   STEADY ENERGY” claim on the packaging of the Products and reinforced the message
11   “
12                                                                     ,” Ex. 31, MDLZ42313,
13   including advertising tweets explicitly calling belVita a                       ” Ex. 32,
14   SPARKFOUNDRY335, and                                                                   Ex.
15   33, SPARKFOUNDRY208. See also Ex. 34, MDLZ100939.
16         The objective of these advertisements was for consumers “
17                                                             ” Ex. 23, SPARKFOUNDRY59-
18   60. See also Ex. 45, MDLZ12776 (
19                             ).
20         Mondelez’s carefully crafted and targeted efforts paid off. In July 2018, Mondelez
21   surveyed its target consumers and found that
22
23               See Ex. 35, MDLZ61486. Other research confirmed that
24                                            , see Ex. 36, MDLZ15183, and it supposedly being
25
26   “      consistent.” Id. 165:23 to 166:3. See also Ex. 8, Mondelez’s 2d Am. Interrogatory
27   Response No. 5. Mondelez validated that the message was consistent because it recognizes
     that “it’s important to have consistency in every touch point; otherwise, you just minimize
28   your marketing efforts.” Id. 92:2-93:15.
                                                  4
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 1   a                                                                    Ex. 40, MDLZ12596.
 2   Both users and non-users “                                             ,” including
 3                                        Ex. 37, MDLZ18330; see also Ex. 38, MDLZ36486
 4                                                          Ex. 39, MDLZ36104 (
 5                                                                      ); Ex. 40, MDLZ12590
 6   (research showed that
 7
 8
 9                                Ex. 41, MDLZ43697. Thus, it cannot be denied that belVita is
10                                                                   Ex. 42, MDLZ103883; see
11   also Ex. 43, MDLZ12661
12            ); Ex. 44, MDLZ18177
13                                           See also Ex. 45, MDLZ12769
14                                                  ). In short,
15
16                                                                                 . See Ex. 41,
17   MDLZ43698. See also Saenen 30(b)(6) Dep. Tr. 148:4-7
18
19         These results were likely unsurprising to Mondelez since it had carefully crafted the
20   statement to convey that exact health message and
21                 See, e.g., Ex. 46, MDLZ21665
22                                                ”); accord Viggiano v. Hansen Nat. Corp., 944
23   F. Supp. 2d 877, 895 n.42 (C.D. Cal. 2013)
24                                                      ”). Mondelez knew that “
25
26
27                                                   see Ex. 47, MDLZ13630. See also id. at
28   MDLZ13627
                                               5
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 1                                    For non-users, Mondelez noted it
 2
 3                                                     ,” Ex. 48, MDLZ18303. See also Ex. 49,
 4   MDLZ16765
 5
 6   III.   THE CHALLENGED CLAIMS WERE MATERIAL
 7          Mondelez surveyed its target consumers and found that the phrase “4 hours of
 8   nutritious steady energy”
 9                                               This survey also found that
10
11                                              . Ex. 35, MDLZ61486. In short, the four hours of
12   nutritious steady energy claim is “
13
14                                Saenen 30(b)(6) Dep. Tr. 78:17-81:12. See also Saenen 30(b)(6)
15   Dep. Tr. 197:8-10 (admitting “                                                   78:17-81:12
16   148:25-149:4: (
17                                                    152:1-3 (research “
18                                                             ”). Mondelez, thus,
19                                                                                         Saenen
20   30(b)(6) Dep. Tr. 108:1-6.
21          Mondelez acknowledges that, if it were unable to use the challenged statements, it
22   “                                                    ” for belVita Breakfast biscuits. See Ex.
23   50, MDLZ15326; see also Ex. 51, MDLZ38069 (“
24                                                                       Ex. 52, MDLZ42611 (“4
25                                                                             The challenged “
26
27   Ex. 53, MDLZ42616, and was what
28                           ” Ex. 54, MDLZ42290. See also Ex. 27, MDLZ36481 (belVita
                                                6
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 1
 2   IV.   THE CHALLENGED CLAIMS WERE MISLEADING
 3                                                          molecules glucose and fructose.” Ex. 4,
 4   Lustig Decl. ¶ 15. While the body requires glucose, id. ¶ 17, “fructose . . . is vestigial and
 5   unnecessary for any biochemical reaction in eukaryotic cells,” id. ¶ 18. Similar to alcohol, an
 6   “overwhelming majority” of fructose must be processed by the liver, id. ¶ 19, which “gives
 7   rise to all of the processes of metabolic syndrome; and these processes are unrelated to total
 8   calories or weight,” id. ¶ 20; see also id. ¶ 28; Greger Decl. at 10-12, 19-21. As a result,
 9   “[a]dded sugar is a primary driver of chronic metabolic disease, such as Type 2 diabetes, heart
10   disease, fatty liver disease, and tooth decay. This is not based on correlation; the scientific
11   literature supports causation for each of these disease entities.” Lustig Decl. ¶ 4; see also id.
12   ¶¶ 19, 23-30. Indeed, “consensus on causality is now strong,” Greger Decl. at 15 (quotation
13   omitted). This has led authoritative bodies like the American Heart Association (“AHA”),
14   World Health Organization (“WHO”), and USDA to recommend limiting added sugar
15   consumption to below 10% or even 5% of daily calories. See Lustig Decl. ¶¶ 33-34, 43;
16   Greger Decl. at 22-25, 27-28. BelVita Products, by contrast, contain 7g to 12g of added sugar
17   per serving, contributing between 14% and 21% of their calories. 3 Lustig Decl. ¶ 39. Thus,
18   they are not healthy, and any health benefits gained from their fiber or purported “slowly
19   digestible starches” is vastly outweighed by the dangers of consuming such high levels of
20   added sugar. See id. ¶¶ 40-45; Greger Decl. at 26-27, 28-29. 4
21
22
23
     3
      Mondelez “does not believe that there has been any material change to the added sugar
24
     content of the challenged belVita products during the class period.” Ex. 7, Mondelez’s
25   Response to Interrogatory No. 19.
26   4
       Although Mondelez claims to have substantiation for its claim that belVita provides 4 hours
27   of “steady” or “sustained” energy, those studies are seriously flawed. Nevertheless, they
     illustrate the key point here: that, whether the challenged statements are misleading, is a
28   common question that can be resolved classwide through common scientific evidence.
                                                   7
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 1   V.    MONDELEZ KNEW THE DETRIMENTAL HEALTH EFFECTS OF ADDED
 2         SUGAR AND THUS KNEW ITS HEALTH MESSAGING WAS MISLEADING
 3         “[I]t [is] important to Mondelez to stay up-to-date on food and nutrition science” and
 4   it “monitor[s] organizations for their nutrition advice,” Morreale 30(b)(6) Dep. Tr. 48:7-16,
 5   56:22-58:12, 63:6-9. It knew health professionals recommend strictly limiting added sugars,
 6   including a “professor of Health Policy in University of California” whose “goal is to bring
 7   awareness about the most pressing issues in health and health care today:” that people should
 8   “[s]top eating sugar” because, now, “[a]dult diseases in children [are] growing in [the] USA,”
 9   including “[t]ype 2 diabetes,” and “[l]iver diseases.” See Ex. 55, MDLZ104014.
10         Just days after the 2015-2020 Dietary Guidelines for Americans (“DGA”) was
11   published,
12
13                                  Ex. 56, MDLZ36833. Mondelez noted that “[s]trong evidence .
14   . . has shown that eating patterns that include lower intake of sources of added sugars are
15   associated with reduced risk of CVD in adults; moderate evidence indicates reduced risk of
16   obesity, type 2 diabetes,[5] and some types of cancer in adults; and . . . dental caries.” Ex. 59,
17   MDLZ36841; see also Ex. 58 at MDLZ39211 (“Consuming excess sugar can lead to . . .
18   metabolic syndrome,” “widespread inflammation,” “cardiovascular disease and type-2
19   diabetes”). Mondelez knew the USDA and the WHO recommended sugar be limited to less
20   than 10% of daily calories, and the AHA recommended a 5% limit, Ex. 58, MDLZ39212, and
21   that it “should build on the best science [it] see[s] today” by “[r]educing . . . [s]ugar,” Ex. 60,
22   MDLZ45178. See also Ex. 61, MDLZ44793 (
23
24
25   5
      Although Mondelez knew “
26               ,” Ex. 57, MDLZ38609, and                                         t, see Exs. 58, 59
27   MDLZ36841, 39211, it

28                Ex. 57, MDLZ38609.
                                                  8
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 1                     ”); Morreale 30(b)(6) Dep. Tr. 72:19-73:4.
 2           Knowing this, Mondelez understood to be a true wellbeing leader, “
 3                                                                                       ,” Ex. 63,
 4   MDLZ12670. So rather than reduce added sugar or remove the health claims, Mondelez
 5
 6
 7
 8
 9                                             Ex. 64, MDLZ101284-90; see also Saenen 30(b)(6)
10   Dep. Tr. 113:22-23, 120:16-121:6
11
12                                               ). 6
13           Given their added sugar, Mondelez was aware of the “
14                            ,” and the detriment this would cause to sales, since many consumers
15   are “                                                          Ex. 68, MDLZ35886; see also
16   Ex. 67, MDLZ37510-11. Morreale 30(b)(6) Dep. Tr. 215:7-10 (admitting Mondelez has had
17   to                                                             ”). So, “
18                                                                                         Ex. 69,
19   MDLZ80966. See also Ex. 65, MDLZ38082 (“                                   ”). Mondelez went
20   to great lengths to disguise belVita’s true nature as a cookie through on-pack labeling claims,
21
22   6
      Mondelez also created
23   Ex. 64, MDLZ101285.
                                                                 Ex. 65, MDLZ38082,
24
25                                           Ex. 66, MDLZ37241,

26                                                            Ex. 62, MDLZ13303,
27
28
                                                 9
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 1   multi-platform advertising campaigns, and
 2
 3                                                                 Ex. 40, MDLZ12590.
 4            Despite Mondelez’s marketing gimmicks,
 5
 6
 7   Ex. 70, MDLZ41995. But even more nutrition-savvy consumers were often misled,
 8   commenting, “                                                                    y,’” see Ex. 43,
 9   MDLZ12661-65
10
11
12
13
14
15            Mondelez knew the negative health consequences of consuming added sugar at the
16   levels found in its belVita Products, knew that
17
18   that “                                              ” was “                         see Ex. 71,
19   MDLZ17810. Nevertheless, Mondelez forged ahead with its prominent “NUTRITIOUS”
20   claims, using marketing to mask its true health credentials (or lack thereof).
21   VI.      MONDELEZ KNEW CONSUMERS LACKED ADEQUATE KNOWLEDGE
22            OF ADDED SUGAR’S DANGERS
23            Based on consumer research, Mondelez knew consumers were
24
25   Ex. 58, MDLZ39211. Mondelez had an
26
27                                                 Id.
28
                                                10
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 1                           id. at 39212, particularly since “                            ,” such as
 2                                                                                      id. at 39213.
 3          Mondelez recognized this as “
 4                     ,” id. at 39211, but instead
 5           . Ex. 72, MDLZ36813. Mondelez itself “
 6
 7                                                    Ex. 7, Mondelez Response to Interrogatory No.
 8   19, and thus knew it’s consumers similarly did not have such information.
 9         Further, although “
10   Ex. 73, MDLZ103610,
11                                                         . For example, consumers “
12                                                                                      l,” which all
13                                                .” Id. See also Morreale 30(b)(6) Dep. Tr. 201:14-
14   16, 210:19-20 (
15                                                                Ex. 73, MDLZ103610; Hocking Dep.
16   Tr. 176:12-19 (consumers avoid specific types of added sugar like “fructose syrup, corn
17   syrup”). But consumers need to be concerned with added, not total, sugar, to understand the
18   health implications of the foods they eat, and the type of added sugar is irrelevant, since they
19   all contain toxic fructose. Sadly, consumers understand very little regarding the physiological
20   effects of consuming added sugar and fructose, much less the amounts that detriment health.
21   VII. PLAINTIFFS RELIED ON MONDELEZ’S MISREPRESENTATIONS
22         Plaintiffs purchased the challenged Products relying on their health and wellness
23   claims. McMorrow Decl. ¶¶ 2-7; Ex. 9, McMorrow Tr. 182:2-9, 191:5-7, 191:23-192:5,
24   194:5-17, 206:20-23, 211:4-16; Ohlin Decl. ¶¶ 2-5; Ex. 10, Ohlin Tr. 42:2-6, 135:13-22,
25   150:13-18, 151:17-152:15, 156:5-7, 190:12-15; DiGregorio Decl. ¶¶ 2-6.
26   VIII. EACH CLASS WAS INJURED BY MONDELEZ’S MISREPRESENTATIONS
27         BECAUSE IT PAID A PREMIUM FOR THE BELVITA PRODUCTS
28         The Classes allege that, due to the challenged claims, the Products sold for higher
                                                11
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 1   prices than they would have absent the claims. SAC ¶ 170. It is well known that consumers
 2   are willing to pay more for foods perceived to be healthy. See Ex. 74, MDLZ103100 (50%
 3                                                         Ex. 75, MDLZ44663
 4                                                                                                   ).
 5   Mondelez’s research “indicates” that “within adult morning nourishment” consumers are
 6   “willing to pay more” for products with “additional benefits.” Saenen 30(b)(6) Dep. Tr.
 7   195:21-196:4. To quantify the market price premium associated with the challenged
 8   statements and calculate damages on a classwide basis, the Classes’ expert, Dr. J. Michael
 9   Dennis designed and will conduct a conjoint survey and analysis. See Ex. 2, Dennis Report.
10   This also supports the New York Class’s statutory damages under G.B.L. §§ 349(h) and 350.
11                                      LEGAL STANDARDS
12         Under Rule 23, “‘[a] class action may be maintained’ if two conditions are met: The
13   suit must satisfy the criteria set forth in subdivision (a) (i.e., numerosity, commonality,
14   typicality, and adequacy of representation), and it also must fit into one of the three categories
15   described in subdivision (b).” Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559
16   U.S. 393, 398 (2010). These are the only criteria that must be met. Briseno v. ConAgra Foods,
17   Inc., 844 F. 3d 1121, 1124-26 (9th Cir. 2017). Although certification requires a “rigorous
18   analysis,” that “[f]requently . . . will entail some overlap with the merits,” Wal-Mart Stores,
19   Inc. v. Dukes, 564 U.S. 338, 351 (2011) [“Dukes”], the merits may be considered “only” to
20   “determin[e] whether the Rule 23 prerequisites for class certification are satisfied,” Amgen
21   Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013) (citations omitted).
22                                            ARGUMENT
23   I.    THE REQUIREMENTS OF RULE 23(A) ARE SATISFIED
24         A.     Numerosity
25         Rule 23(a)(1) is satisfied if “the class is so numerous that joinder of all members is
26   impracticable,” Fed. R. Civ. P. 23(a)(1). Here, the unit and dollar sales suggest
27                                 , see Ex. 3, Weir Decl. at Table 1, ¶ 64, satisfying numerosity.
28   See Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1093 (N.D. Cal. 2018) (“Plaintiff has
                                                 12
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 1   provided evidence that ‘the unit and dollar sales’ of the . . . products at issue in the instant
 2   case ‘suggest at least thousands of Class Members’” purchased products).
 3         B.     Commonality
 4         Rule 23(a)(2) is satisfied if “there are questions of law or fact common to the class,”
 5   Fed. R. Civ. P. 23(a)(2), which means “the class members have suffered the same injury,” so
 6   that their claims “depend upon a common contention . . . . [whose] truth or falsity will resolve
 7   an issue that is central to the validity of each one of the claims in one stroke.” Dukes, 564
 8   U.S. at 350 (quotation omitted). “What matters” is “the capacity of a classwide proceeding to
 9   generate common answers apt to drive the resolution of the litigation.” Id. (quotation and
10   citation omitted). “The existence of shared legal issues with divergent factual predicates is
11   sufficient, as is a common core of salient facts,” Hanlon v. Chrysler Corp., 150 F.3d 1011,
12   1019 (9th Cir. 1998). This exists “where a defendant has engaged in standardized conduct
13   toward members of the class,” Hale v. State Farm Mut. Auto. Ins. Co., 2016 WL 4992504, at
14   *6 (S.D. Ill. Sept. 16, 2016) (citation omitted).
15         Here, the Products’ packaging was materially consistent throughout the Class Period
16   exposing every purchaser to the challenged claims. See Exs. 12-16. Although Mondelez has
17   been “f            ” the exact wording of the “4 HOURS OF NUTRITIOUS STEADY
18   ENERGY” claim, “                                     ” Saenen 30(b)(6) Dep. Tr. 161:22-162:7,
19   and the claims all “                                ,” which “
20              ” Saenen 30(b)(6) Dep. Tr. 162:19-24. 7
21         There are thus “numerous common questions of law and fact, such as whether the
22
23   7
      These non-material variations do not prevent certification. See Allen v. Similasan Corp., 306
24   F.R.D. 635, 648-49 (S.D. Cal. 2015) (Bashant, J.) (certifying class where “[t]here [were] six
25   Products at issue, each with various labels throughout the class period,” where “every
     package of every Product states in some form that the Product ‘relieves’ specified symptoms”
26   because “[t]hough the labels changed, the efficacy representations remained essentially the
27   same”); Fitzpatrick v. Gen. Mills, Inc., 263 F.R.D. 687, 700 (S.D. Fla. 2010) (rejecting
     argument that individual issues predominated due to the supposed “mix of advertising
28   statements” challenged because digestive health was a common theme in all advertisements).
                                                 13
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 1   challenged health statements are unlawful, unfair, deceptive, or misleading when affixed to
 2   products containing [7 to 12] grams of [added] sugar per serving,” and so “Plaintiff[s] ha[ve]
 3   satisfied the . . . commonality requirement[ ] of Rule 23(a).” See Hadley, 324 F. Supp. 3d at
 4   1093-94 (record citation omitted) (citing Jones v. ConAgra Foods, Inc., 2014 WL 2702726,
 5   at *5 (N.D. Cal. June 13, 2014)); see also Allen, 306 F.R.D. at 646 (“Plaintiffs’ claims are
 6   typical because they arise from the same general course of conduct Plaintiffs allege has
 7   injured the class.”); Hasemann v. Gerber Prod. Co., 2019 WL 2250687, at *4 (E.D.N.Y. Feb.
 8   20, 2019) [Hasemann I], report and recommendation adopted as modified, 2019 WL
 9   1434263 (E.D.N.Y. Mar. 31, 2019) (commonality satisfied for N.Y. G.B.L. §§ 349 and 350
10   claims because commonality “may be met where the individual circumstances of class
11   members differ but their injuries derive from a unit[ar]y course of conduct by a single
12   system,” and “[f]alse advertising . . . may be such a course of conduct” (citations and
13   quotations omitted)).
14         C.     Typicality
15         Rule 23(a)(3) is satisfied if plaintiffs’ claims “are reasonably co-extensive with those
16   of absent class members; they need not be substantially identical.” Hanlon, 150 F.3d at 1020.
17   “Typicality refers to the nature of the claim or defense of the class representative, and not to
18   the specific facts from which it arose or the relief sought.” Hanon v. Dataproducts Corp., 976
19   F.2d 497, 508 (9th Cir. 1992) (internal quotation marks omitted). “[T]he focus should be on
20   the defendants’ conduct and plaintiff’s legal theory,” Simpson v. Fireman’s Fund Ins., 231
21   F.R.D. 391, 396 (N.D. Cal. 2005) (citation and quotation marks omitted). “A plaintiff’s claim
22   is typical if it arises from the same event or practice or course of conduct that gives rise to the
23   claims of other class members and . . . her claims are based on the same legal theory.” De La
24   Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983) (quotation and citations
25   omitted); see also In re Brazilian Blowout Litig., 2011 WL 10962891, at *3 (C.D. Cal. Apr.
26   12, 2011). “[I]n instances wherein it is alleged that the defendant[] engaged in a common
27   scheme relative to all members of the class, there is a strong assumption that the claims of
28   the representative parties will be typical of the absent members.” In re Catfish Antitrust Litig.,
                                                     14
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 1   826 F. Supp. 1019, 1035 (N.D. Miss. 1993). Here, typicality exists for each Class. Plaintiffs
 2   allege they were injured when they paid more for the challenged Products due to the price
 3   premium the misleading claims and deceptive omissions demanded in the market. These are
 4   the same injuries each Class Member alleges based on the same Mondelez conduct. See
 5   Hadley, 324 F. Supp. 3d at 1118-21.
 6         D.     Adequacy
 7         Rule 23(a)(4) is satisfied if “the representative parties will fairly and adequately protect
 8   the interests of the class,” Fed. R. Civ. P. 23(a)(4). “Resolution of two questions determines
 9   legal adequacy: (1) do the named plaintiffs and their counsel have any conflicts of interest
10   with other class members and (2) will the named plaintiffs and their counsel prosecute the
11   action vigorously on behalf of the class?” Hanlon, 150 F.3d at 1020 (citation omitted).
12   Plaintiffs are adequate Class Representatives because they are bona fide purchasers with
13   standing, have no conflicts, are aware of their obligations, and will continue to vigorously
14   prosecute the case for the California Class, McMorrow Decl. ¶¶ 8-17; Ohlin Decl. ¶¶ 6-12,
15   and New York Class, DiGregorio Decl. ¶¶ 7-12. See also McMorrow Tr. 182:2-9, 191:5-7,
16   191:23-192:5, 194:5-17, 206:20-23, 211:4-16, 224:15-225;4, 225:13-227:1, 227:7-25, 240:16-
17   19, 242:8-18; Ohlin Tr. 42:2-6, 135:13-22, 150:13-18, 151:17-152:15, 156:5-7, 174:7-176:12,
18   178:12-25, 186:3-187:12, 190:12-15; Local Joint Exec. Bd. Culinary/Bartender Trust Fund v.
19   Las Vegas Sands, 244 F.3d 1152, 1162 (9th Cir. 2001); Allen, 306 F.R.D. at 646 (plaintiffs
20   adequate where they “filed declarations stating that they understand the responsibilities
21   associated with being a class representative, such as acting in the best interest of the class and
22   actively participating in the litigation, including being available for questioning at trial”). And
23   Plaintiffs have retained adequate proposed Class Counsel. See Fitzgerald Decl. ¶¶ 2-8 & Ex.
24   1; Joseph Decl. ¶¶ 77-81 & Ex. 76; See also Hadley, 324 F. Supp. 3d at 1121; Martin v.
25   Monsanto Co., 2017 WL 1115167, at *5 (C.D. Cal. Mar. 24, 2017).
26   II.   THE REQUIREMENTS OF RULE 23(B) ARE SATISFIED
27         A.     Predominance
28         Predominance “tests whether proposed classes are sufficiently cohesive to warrant
                                              15
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 1   adjudication by representation.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997)
 2   (citation omitted); see also Fed. R. Civ. P. 23(b)(3). Predominance exists where common
 3   questions present “a significant aspect of the case that can be resolved for all members of the
 4   class in a single adjudication.” Berger v. Home Depot USA, Inc., 741 F.3d 1061, 1068 (9th
 5   Cir. 2014) (internal quotation, brackets, and alteration omitted). This includes where
 6   classwide “damages stemmed from the defendant’s actions that created the legal liability.”
 7   See Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013) (citing Comcast Corp. v.
 8   Behrend, 569 U.S. 27, 38 (2013) [“Comcast”]). “When common questions present a
 9   significant aspect of the case and they can be resolved for all members of the class in a single
10   adjudication, there is clear justification for handling the dispute on a representative rather
11   than on an individual basis.” Hanlon, 150 F.3d at 1022 (quotation omitted).
12                1.     The California Class’s Claims will be Resolved through Objective
13                       Standards and Common Evidence that Applies Classwide
14                       a.    Consumer Fraud: Affirmative Misrepresentation
15         California’s FAL, CLRA, and UCL’s “fraudulent” prong “prohibit ‘not only
16   advertising which is false, but also advertising which, although true, is either actually
17   misleading or which has a capacity, likelihood or tendency to deceive or confuse the public,’”
18   Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008) (quotation omitted). This
19   is “judged by the effect it would have on a reasonable consumer,” Lavie v. P&G, 105 Cal.
20   App. 4th 496, 506-507 (2003). Under this test, a product’s packaging is misleading if it
21   presents “a likelihood of confounding an appreciable number of reasonably prudent
22   purchasers exercising ordinary care.” Brockey v. Moore, 107 Cal. App. 4th 86, 99 (2003). If
23   Mondelez’s labeling was likely to deceive under this objective “reasonable consumer” test, it
24   will be liable to all Class Members because relief under the FAL and UCL “is available
25   ‘without individualized proof of deception, reliance and injury,’ so long as the named
26   plaintiffs demonstrate injury and causation.” Guido v. L’Oreal, USA, Inc., 284 F.R.D. 468,
27   482 (C.D. Cal. 2012) (quotation and alterations omitted). And while CLRA claims have a
28   causation element, this “does not make plaintiffs’ claims unsuitable for class treatment
                                              16
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 1   because causation as to each class member is commonly proved more likely than not by
 2   materiality.” Id. (internal quotation marks and citation omitted). “As materiality is an
 3   objective inquiry [under the CLRA], no individualized examination of materiality is
 4   necessary.” Lanovaz v. Twinings N. Am., Inc., 2014 WL 1652338, at *4 (N.D. Cal. Apr. 24,
 5   2014); accord Amgen, 568 U.S. at 467 (“materiality is a ‘common questio[n]’ for purposes
 6   of Rule 23(b)(3)”). The objective tests for deception and materiality renders claims under the
 7   UCL, FAL, and CLRA “ideal for class certification because they will not require the court to
 8   investigate class members’ individual interaction with the product.” Bradach v. Pharmavite,
 9   LLC, 735 Fed. Appx. 251, 254-55 (9th Cir. 2018) (quoting Tait v. BSH Home Appliances
10   Corp., 289 F.R.D. 466, 480 (C.D. Cal. 2012) (quotation omitted)); accord Amchem Prods.,
11   521 U.S. at 625 (“Predominance is a test readily met in certain cases alleging consumer . . .
12   fraud”). Here, “the predominating common issues include whether [defendant]
13   misrepresented” that the challenged Products are healthy “and whether the misrepresentations
14   were likely to deceive a reasonable consumer.” See Johns v. Bayer Corp., 280 F.R.D. 551,
15   557 (S.D. Cal. 2012); see also In re Ferrero Litig., 278 F.R.D. 552, 560 (S.D. Cal. 2011).
16                      b.     Consumer Fraud: Deceptive Omission
17         A duty to disclose material facts arises, inter alia, when the defendant “had exclusive
18   knowledge of material facts not known to the plaintiff[] . . . actively conceal[ed] a material
19   fact from the plaintiff[, or] . . . ma[de] partial representations but also suppresse[d] some
20   material fact.” Falk v. Gen. Motors Corp., 496 F. Supp. 2d 1088, 1095 (N.D. Cal. 2007)
21   (quotation omitted). Moreover, “[t]he UCL requires a duty to disclose when not disclosing
22   would result in an ‘unlawful, unfair or fraudulent business act or practice.’” Cortina v. Goya
23   Foods, Inc., 94 F. Supp. 3d 1174, 1192 (S.D. Cal. 2015) (Finding it “plausible for the alleged
24   labeling omission of a potentially dangerous substance to constitute an ‘unlawful’ and/or
25   ‘fraudulent business act or practice.’” (citation omitted)). “To prove reliance on an omission,
26   a plaintiff must show that the defendant’s nondisclosure was an immediate cause of the
27   plaintiff’s injury-producing conduct,” which he may do “by simply proving ‘that, had the
28   omitted information been disclosed, one would have been aware of it and behaved
                                              17
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 1   differently.’” Daniel v. Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015) (quoting Mirkin
 2   v. Wasserman, 5 Cal. 4th 1082, 1093 (1993)). “That one would have behaved differently can
 3   be presumed, or at least inferred, when the omission is material.” Id. Accordingly, “courts
 4   have found exposure and reliance suitable for class-wide resolution in cases where,” as here,
 5   “the class was defined as all purchasers of a product and the plaintiffs’ CLRA and UCL claims
 6   were based on information omitted from the product’s packaging.” Butler v. Porsche Cars N.
 7   Am., Inc., 2017 WL 1398316, at *10 (N.D. Cal. Apr. 19, 2017). “In these cases, all class
 8   members were ‘necessarily exposed’ to the defendant’s omissions on the package prior to
 9   purchase, and all class members would have been aware of a disclosure on the packaging had
10   a disclosure been made.” Id. (citing In re NJOY, Inc. Consumer Class Action Litig., 120 F.
11   Supp. 3d 1050, 1105 (C.D. Cal. 2015) (collecting cases)).
12         Plaintiffs have substantial common evidence on which to bring the Classes’ omission
13   claims to trial. This includes, supporting a duty to disclose, evidence of Mondelez’s
14   knowledge (especially relative to consumers), and evidence that the omitted information was
15   material. It also includes, supporting reliance, Plaintiffs’ testimony that their behavior likely
16   would have differed. See McMorrow Decl. ¶ 7; Ex. 9, McMorrow Tr. 216:20-217:5; Ohlin
17   Decl. ¶ 5; Ex. 10, Ohlin Tr. 139:25-140:4, 156:21-25, 166:10-24; DiGregorio Decl. ¶ 6.
18   Compare Baranco v. Ford Motor Co., 294 F. Supp. 3d 950, 966-68 (N.D. Cal. 2018).
19                       c.    Breach of Warranty
20         Showing a breach of warranty requires that “(1) the seller’s statements constitute an
21   affirmation of fact or promise or a description of the goods; (2) the statement was part of the
22   basis of the bargain; and (3) the warranty was breached.” In re ConAgra Foods, 90 F. Supp.
23   3d 919, 984 (C.D. Cal. 2015) (quotation omitted); Cal. Com. Code §§ 2313(1)(a)-(b).
24   Plaintiffs allege Mondelez warranted its Products as healthy. See SAC ¶¶ 224, 234. “Whether
25   such [] statement[s] constitute[] an express warranty, [and] whether that warranty was
26   breached . . . are issues subject to common and generalized proof.” Martin, 2017 WL
27   1115167, at *7. And “[b]ecause reliance is not an element of express warranty claims under
28   California law, common questions predominate and class action treatment is appropriate.” In
                                               18
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 1   re Scotts EZ Seed Litig., 304 F.R.D. 397, 411 (S.D.N.Y. 2015) (citations omitted); Karim v.
 2   Hewlett-Packard, 311 F.R.D. 568, 573 (N.D. Cal. 2015).
 3                2.     The New York Class’s Claims will be Resolved through Objective
 4                       Standards and Common Evidence that Applies Classwide
 5          “To assert a claim under either section [349 or 350 of New York’s General Business
 6   Law (“GBL”)], ‘a plaintiff must allege that a defendant has engaged in (1) consumer-oriented
 7   conduct that is (2) materially misleading and that (3) [the] plaintiff suffered injury as a result
 8   of the allegedly deceptive act or practice.’” Hasemann v. Gerber Prod. Co., 2019 WL
 9   1434263, at *13 (E.D.N.Y. Mar. 31, 2019) [Hasemann II] (quoting Orlander v. Staples, Inc.,
10   802 F.3d 289, 300 (2d Cir. 2015)).8 Whether a defendant “engaged in consumer-oriented
11   conduct [does] not vary from plaintiff to plaintiff” when each class member was exposed to
12   the challenged claims in the same manner—via the product’s packaging. See Hasemann I,
13   2019 WL 2250687, at *13. “Regardless of the class members’ individual circumstances, . . .
14   the answer to this question is ultimately a matter of law that would apply equally to all
15   members across the board.” Harte v. Ocwen Fin. Corp., 2018 WL 1830811, at *34 (E.D.N.Y.
16   Feb. 8, 2018), report and recommendation adopted, 2018 WL 1559766 (E.D.N.Y. Mar. 30,
17   2018). Importantly, “neither section 349 nor section 350 contains a reliance requirement, and
18   a proper claim under section 349 or 350 does not require proof that a consumer actually relied
19   on the misrepresentation.” Hasemann II, 2019 WL 1434263, at *14 (citing In re Scotts EZ
20   Seed Litig., 304 F.R.D. at 409; Stutman v. Chem. Bank, 95 N.Y.2d 24, 29 (2000) (“[A]s we
21   have repeatedly stated, reliance is not an element of a section 349 claim.” (citations
22   omitted))). Like California’s UCL, FAL, and CLRA, courts have “adopted an objective
23   definition of ‘misleading,’ under which the alleged act must be ‘likely to mislead a reasonable
24   consumer acting reasonably under the circumstances.’” Id. (quoting Goldemberg v. F &
25   Johnson Consumer Companies, Inc., 317 F.R.D. 374, 389 (S.D.N.Y. 2016)).
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27
     8
       “The standard for recovery under . . . [section] 350, while specific to false advertising, is
     otherwise identical to section 349.” Hasemann II, 2019 WL 1434263, at *13 (quoting Goshen
28   v. Mut. Life Ins. Co. of N.Y., 98 N.Y.2d 314, 324 n.1 (2002)).
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 1         Accordingly, “such claims are considered ideal for class certification because they
 2   allow the court to adopt classwide presumptions of reliance and do not require an
 3   investigation into class members’ individual interaction with the product.” Ackerman v.
 4   Coca-Cola Co., 2013 WL 7044866, at *10 (E.D.N.Y. July 18, 2013) (citations and quotations
 5   omitted). See Hasemann I, 2019 WL 2250687, at *13 (“Because the individual consumer’s
 6   expectations and experience have no bearing on liability or damages, ‘courts regularly certify
 7   classes alleging § 349 violations when the injury was payment of a price premium.’” (quoting
 8   In re Amla Litig., 320 F. Supp. 3d 578, 592-93 (S.D.N.Y. 2018) (collecting cases))).
 9         Lastly, Mondelez cannot “dispute[] that statutory damages under GBL §[§] 349 [and
10   350] can be assessed on the basis of common proof, as they are capped at $50” and $500,
11   respectively. Sykes v. Mel S. Harris & Assocs. LLC, 780 F.3d 70, 87 (2d Cir. 2015)
12   (citing N.Y. Gen. Bus. L. § 349(h)); Madden v. Midland Funding, LLC, 237 F. Supp. 3d 130,
13   161 (S.D.N.Y. 2017); Famular v. Whirlpool Corp., 2019 WL 1254882, at *11 (S.D.N.Y. Mar.
14   19, 2019) (noting “the $50 statutory minimum for GBL Section 349 violations and $500
15   statutory minimum for GBL Section 350 violations”). While, to obtain damages, plaintiffs
16   must show the defendant “‘caused the injury,’” Hasemann II, 2019 WL 1434263, at *14
17   (quoting Stutman, 95 N.Y.2d at 29), this “may be satisfied through an allegation that . . . a
18   plaintiff paid a premium for a product based on [the] defendants’ inaccurate representations,’”
19   id. (quoting Ackerman v. Coca-Cola Co., 2010 WL 2925955, at *23 (E.D.N.Y. July 21,
20   2010)), “which[] . . . may be proved or disproved with class-wide evidence,” id.
21         Accordingly, because each prong of Plaintiff’s claims under sections 349 and 350 will
22   be proven by classwide evidence, predominance is satisfied. See Hasemann I, 2019 WL
23   2250687, at *13-15; Hasemann II, 2019 WL 1434263, at *30-31 (“false advertising claims
24   under [New York’s GBL] meet the predominance requirement.”); Harte v. Ocwen Fin. Corp.,
25   2018 WL 1830811, at *34-35 (predominance satisfied because “the GBL § 349 claim can be
26   resolved more efficiently on a class-wide scale with common proof than on an individual
27   basis”); In re Scotts EZ Seed Litig., 304 F.R.D. at 409 (“Plaintiffs’ GBL claims thus depend
28   on generalized evidence. Classwide evidence will be used to establish whether Scotts’s
                                              20
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 1   labeling of EZ Seed was false, and if so, whether it was likely to mislead a reasonable
 2   consumer acting reasonably under the circumstances.”); Ebin v. Kangadis Food Inc., 297
 3   F.R.D. 561, 568 (S.D.N.Y. 2014) (predominance met because “[t]he same generalized
 4   evidence will be used to establish whether [the] label is false, and if so, whether it was likely
 5   to mislead a reasonable consumer acting under the circumstances”).
 6                3.     The Classes’ Damages Models are Consistent with its Theories of
 7                       Liability, and Capable of Measuring Classwide Damages
 8         At certification, a plaintiff must show “damages are capable of measurement on a
 9   classwide basis,” in a manner “consistent with [the] liability case,” Comcast, 569 U.S. at 34–
10   35 (quotation omitted). Plaintiffs need only “present a likely method for determining class
11   damages,” and “it is not necessary to show that this method will work with certainty,” Chavez
12   v. Blue Sky Nat. Bev., 268 F.R.D. 365, 379 (N.D. Cal. 2010) (emphasis added); Lilly v. Jamba
13   Juice Co., 308 F.R.D. 231, 244 (N.D. Cal. 2014) (“the correct reading of Comcast is that
14   plaintiffs must establish at the certification stage that ‘damages . . . [can] feasibly and
15   efficiently be calculated once the common liability questions are adjudicated’” and “[o]ften,
16   this will impose only a very limited burden” (quotation omitted)). “The first step in a damages
17   study is the translation of the legal theory of the harmful event into an analysis of the
18   economic impact of that event.” Comcast, 569 U.S. at 38 (citation and emphasis omitted).
19         Here, Plaintiffs allege and present common evidence showing that (1) Mondelez’s
20   misrepresentations, and deceptive omissions increased the Products’ market price, consistent
21   with Plaintiffs’ affirmative misrepresentation, deceptive omission, and breach of warranty
22   claims; and (2) statutory damages are calculable classwide consistent with the New York
23   Class’s theories of liability under GBL sections 349 and 350.
24                       a.    The Price Premium Model is Consistent with Plaintiffs’
25                             Affirmative Misrepresentation, Deceptive Omissions, and
26                             Breach of Warranty Claims
27         The UCL, FAL, and CLRA all “authorize a trial court to grant restitution to private
28   litigants asserting claims under those statutes.” Colgan v. Leatherman Tool Group, Inc., 135
                                                   21
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 1   Cal. App. 4th 663, 694 (2006); Cal. Bus. & Prof. Code §§ 17203, 17535; Cal. Civ. Code §
 2   1780(a)(3). “Class wide damages calculations under the UCL, FAL, and CLRA are particularly
 3   forgiving. California requires only that some reasonable basis of computation of damages be
 4   used, and the damages may be computed even if the result reached is an approximation.”
 5   Lambert v. Nutraceutical Corp., 870 F.3d 1170, 1183 (9th Cir. 2017) (quotation omitted).
 6   The GBL authorizes recovery of actual or statutory damages. N.Y. Gen. Bus. L. § 349(h).
 7         “For each consumer who relies on the truth and accuracy of a label and is deceived by
 8   misrepresentations into making a purchase, the economic harm” is that “the consumer has
 9   purchased a product that he or she paid more for than he or she otherwise might have been
10   willing to pay if the product had been labeled accurately.” Kwikset Corp. v. Super. Ct., 51
11   Cal. 4th 310, 329 (2011); see also Hasemann I, 2019 WL 2250687, at *10 (in case alleging
12   violations of GBL, “Plaintiffs’ theory of liability is that Defendant’s misrepresentations . . .
13   falsely inflated the price of [the products at issue], such that those who purchased [them] paid
14   more for that product than they would have were the product marketed honestly,” and “[u]nder
15   this theory, each consumer suffers damages equal to the difference between what they actually
16   paid for [the product] and what they would have paid in the absence of any
17   misrepresentation.”). “The proper measure of restitution in a mislabeling case is the amount
18   necessary to compensate the purchaser for the difference between a product as labeled and
19   the product as received.” Werdebaugh v. Blue Diamond Growers, 2014 WL 2191901, at *22
20   (N.D. Cal. May 23, 2014). This is measured by determining the marketplace price premium
21   attributable to a misleading claim or breached warranty. Stathakos v. Columbia Sportswear,
22   2017 WL 1957063, at *11 (N.D. Cal. May 11, 2017); Hasemann I, 2019 WL 2250687, at *10.
23         Because the Classes challenge Mondelez’s labeling claims as misleading, thereby
24   violating California’s and New York’s consumer protection laws and breaching Mondelez’s
25   express and implied warranties, SAC ¶¶ 193-237, the price premia associated with the
26   presence versus the absence of those claims on the Products’ packaging is a proper measure
27   of restitution and damages tied to the conduct for which Mondelez may be liable. See
28   Werdebaugh, 2014 WL 2191901, at *22; Hasemann I, 2019 WL 2250687, at *10.
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 1         To quantify the market price premium associated with the challenged claims and
 2   calculate classwide damages, the Classes’ survey expert, Dr. J. Michael Dennis, designed and
 3   will conduct a conjoint survey and analysis. See generally Dennis Report. As economics
 4   expert Colin Weir explains, a factfinder can use Mr. Dennis’s premia to determine the amount
 5   of restitution and damages owed the Classes. See Weir Decl. ¶¶ 19-64; & Table 1.
 6         Conjoint analysis is “widely-accepted as a reliable economic tool for isolating price
 7   premia,” see Hadley, 324 F. Supp. 3d at 1110.9 Several courts in this district have recently
 8   approved conjoint analysis in certifying consumer fraud claims. Hilsley v. Ocean Spray
 9   Cranberries, Inc., 2018 WL 6300479, at *15-16 (S.D. Cal. Nov. 29, 2018); Clay v. CytoSport,
10   Inc., 2018 WL 4283032, at *12-13 (S.D. Cal. Sept. 7, 2018). Other Ninth Circuit courts have
11   also approved conjoint analysis, 10 including those performed by Dr. Dennis. Fitzhenry-
12   Russell v. Dr. Pepper Snapple Grp., Inc., 326 F.R.D. 592, 601, 603-606 (N.D. Cal. 2018).
13                       b.    The New York Class’s Statutory Damages Model is Consistent
14                             with Liability Under GBL 349 and 350
15         “Statutory damages are permissible in class actions alleging Sections 349 and 350
16
17
     9
       See Odyssey Wireless, Inc. v. Apple Inc., 2016 WL 7644790, at *9 (S.D. Cal. Sept. 14,
18
     2017) (conjoint “a generally accepted method for valuing the individual characteristics of a
19   product”); Martinelli v. Johnson & Johnson, 2019 WL 1429653, at *3-4 (E.D. Cal. Mar. 29,
     2019) (“District courts have . . . certified classes where plaintiffs used conjoint analysis.”);
20
     Kurtz v. Kimberly-Clark Corp., 312 F.R.D. 482, 551 (E.D.N.Y. Mar. 27, 2017) (conjoint a
21   “reliable method[] available for calculating the price premium attributable to a product
     characteristic”); Hasemann I, 2019 WL 2250687, at *11 (“Courts across the country,
22
     including those in this Circuit, have recognized conjoint analysis . . . as [an] effective and
23   ‘well-established damages model[].’” (quotation omitted) (collecting cases)); Miller v. Fuhu
     Inc., 2015 WL 7776794, at *21 (C.D. Cal. Dec. 1, 2015) (“courts . . . have accepted” conjoint
24
     “as reliable . . . for calculating price premiums on a classwide basis”).
25   10
        E.g., Hadley, 324 F. Supp. 3d at 1103-111; In re MyFord Touch Consumer Litig., 291 F.
26   Supp. 3d 936, 969 (N.D. Cal. 2018); Bromfield v. Craft Brew Alliance, Inc., 2018 WL
27   4952519, at *13-20 (N.D. Cal. Sept. 25, 2018); In re Arris Cable Modem Consumer Litig.,
     327 F.R.D. 334, 366-73 (N.D. Cal. 2018); In re Lenovo Adware Litig., 2016 WL 6277245,
28   at *21 (N.D. Cal. Oct. 27, 2016).
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 1   violations brought in federal court.” Famular, 2019 WL 1254882, at *11 (citing Kurtz, 321
 2   F.R.D. at 551; Guido v. L’Oreal, USA, Inc., 2013 WL 3353857, at *16-17 (C.D. Cal. July 1,
 3   2013)); see also Rodriguez v. It’s Just Lunch Int’l, 2018 WL 3733944, at *9 (S.D.N.Y. Aug.
 4   6, 2018) (“it is now well established that ‘statutory damages under section 349(h) are
 5   available on a class basis in federal court’” (quoting Kurtz, 321 F.R.D. at 502)). “Once an
 6   injury is established, statutory damages can be precisely calculated,” Kurtz, 321 F.R.D. at
 7   551, and are equal to “the number of units sold in New York [ ] multiplied by the $50 statutory
 8   minimum for GBL Section 349 violations and $500 statutory minimum for GBL Section 350
 9   violations,” Famular, 2019 WL 1254882, at *11; Kurtz, 321 F.R.D. at 526 (under GBL §§
10   349 and 350, “[t]he statutory damages for many multiple purchasers is potentially enormous:
11   it is $50 or $500 per purchase plus attorneys’ fees[,] [y]et, . . . [the] opinion of the Supreme
12   Court permits such damages”); Ackerman, 2013 WL 7044866, at *20 n.32 (“if plaintiffs are
13   able to prove injury, but their damages are less than the statutory minimum, they will still be
14   entitled to the minimum amount of statutory damages” (citations omitted)); O’Neill v.
15   Standard Homeopathic Co., 346 F. Supp. 3d 511, 523 (S.D.N.Y. 2018) (same).
16         Here, Mr. Weir will “use[] [ ] sales data numbers . . . and total retail sales for the
17   number of ‘violations’ and multipl[y] that by the statutory amounts of $50 (for the New York
18   GBL Section 349 claim) and $500 (for the New York GBL Section 350 claim).” See In re
19   Scotts EZ Seed Litig., 2017 WL 3396433, at *11 (S.D.N.Y. Aug. 8, 2017) (finding Mr. Weir’s
20   damages calculations admissible), reconsideration denied, 2018 WL 1274965 (S.D.N.Y.
21   Mar. 5, 2018); compare Weir Decl. ¶ 64. “Accordingly, plaintiff[s’] statutory damages model
22   is consistent with the proposed theory of liability,” Famular, 2019 WL 1254882, at *11.
23         B.     Superiority
24         Whether “a class action is superior to other available methods for fairly and efficiently
25   adjudicating the controversy,” depends on “(A) the class members’ interests in individually
26   controlling the prosecution or defense of separate actions; (B) the extent and nature of any
27   litigation concerning the controversy already begun by or against class members; (C) the
28   desirability or undesirability of concentrating the litigation of the claims in the particular
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 1   forum; and (D) the likely difficulties in managing a class action.” Fed. R. Civ. P. 23(b)(3).
 2         Superiority is satisfied applying these factors.11 Class Members have no interest in
 3   controlling individual actions because most of the Product costs under about $5 (with the
 4   larger club-sized packs selling for about $15). Superiority “is met ‘[w]here recovery on an
 5   individual basis would be dwarfed by the cost of litigating on an individual basis.’” Tait, 289
 6   F.R.D. at 486 (quotation omitted). Moreover, this case involves straightforward claims for
 7   consumer fraud, misbranding, and breach of warranty, based on labeling statements that
 8   conveyed consistent health messages. Manageability concerns will be minimal and cannot,
 9   in any event, scuttle class certification “if no realistic alternative exists.” See Valentino v.
10   Carter-Wallace, Inc., 97 F.3d 1227, 1234-35 (9th Cir. 1996); see also Culley v. Lincare Inc.,
11   2016 WL 4208567, at *8 (E.D. Cal. Aug. 10, 2016) (class action the “only realistic method
12   for recovery if there are multiple claims against the same defendant for relatively small
13   sums”); cf. Leyva, 716 F.3d at 514-15; Bee, Denning, Inc. v. Capital All. Grp., 310 F.R.D.
14   614, 629 (S.D. Cal. 2015) (Bashant, J.) (“a class action is a superior method” because
15   “allowing claimants to recover up to $500 for each violation, or $1,500 for each willful
16   violation[ ] is generally insufficient to incentivize individual litigation”).
17                                           CONCLUSION
18         The Court should grant the motion, certify the Class, appoint plaintiffs as Class
19   Representatives, and appoint their counsel as Class Counsel.
20
21         Dated: August 30, 2019             Respectfully Submitted,
22                                            /s/ Jack Fitzgerald
23                                            THE LAW OFFICE OF
24
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     11
       Plaintiffs are not aware of any similar litigation that might weigh against superiority. The
     action was initially filed in this Court on behalf of a California Class, and two of the three
26   plaintiffs reside in this District, so it is a preferable location. Accordingly, Rule 23(b)(3)(B)
27   and (C) also favor finding superiority. Cf. Hasemann I, 2019 WL 2250687, at *17 (E.D.N.Y.
     Feb. 20, 2019) (“related actions pending in other courts” did not “injure superiority as
28   Plaintiffs’ claims are carefully crafted so as to avoid overlap with extant litigation”).
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